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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
v.                                  )   No.1:19-CR-10080-NMG
                                     )
GREGORY COLBURN ET AL.,              )
                                     )
____________________________________)

      MOTION FOR LEAVE TO FILE SEALED OPPOSITION TO MOTION FOR
          HEARING ON ASSERTION OF FIFTH AMENDMENT RIGHTS

       Subpoenaed non-parties Ron Orr and Steve Lopes seek leave to file under seal their

opposition to the motion of defendants Gamal Abdelaziz and John Wilson for a hearing on

assertion of Fifth Amendment rights (DE # 2274). As grounds therefor, Messrs. Orr and Lopes

state that their opposition brief and accompanying exhibits contain sensitive, confidential, and

personally identifiable information. Accordingly, under Local Rule 7.2, Messrs. Orr and Lopes

respectfully request that the Court grant them leave to file under seal: (a) their Opposition to the

Motion for Hearing on Assertion of Fifth Amendment Rights, and (b) the exhibits thereto.

       Messrs. Orr and Lopes will provide the government and counsel for defendants

unredacted copies of their filing, and will file a redacted version in the public record.

                                               Ron Orr and Steve Lopes,
                                               By their attorneys,

                                               /s/ Payal Salsburg
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Dated: September 27, 2021
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this date this document filed through the CM/ECF system will be
sent electronically to the registered participants as identified on the NEF and paper copies will be
sent to those indicated as non-registered participants.

                                              /s/ Payal Salsburg
                                              Payal Salsburg
